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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

CONGREGATION ACHPRETVIA TAL                                 Case No. 16-10092(MEW)
CHAIM SHAR HAYUSHOR, INC.,

                        Debtor.


                              NOTICE OF AUCTION RESULTS

PLEASE TAKE NOTICE OF THE FOLLOWING:

    1. On July 15, 2019, Congregation Achpretvia Tal Chaim Shar Hayushor, Inc. (the “Debtor”),

a not-for-profit religious corporation, filed a motion [ECF No. 317] (the “Sale and Bid Procedures

Motion”)1 seeking, among other things, (I) an order (a) scheduling an auction (the “Auction”) for

the sale of real property and improvements thereon located at 163 East 69th Street, New York,

New York (Block 1404, Lot 31) (the “Property”) and a hearing to approve the sale of the Property

(the “Sale Hearing”) and (b) approving procedures (the “Bid Procedures”) for submitting

competing bids for the Property; and (II) an order (the “Sale Order”), substantially in the form

appended as Exhibit B to the Sale and Bid Procedures Motion, approving the sale of the Property,


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  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
Sale and Bid Procedures Motion and the Bid Procedures appended thereto.

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which constitutes substantially all of the Debtor’s assets.

   2. At the January 29, 2020 Sale Hearing, the Bankruptcy Court instructed the Debtor to re-

open the Auction. The Debtor held the continued Auction on February 4, 2020. At the conclusion

of the Auction, the Debtor selected, in consultation with the Consultation Parties, the $9,100,000

cash bid of Patriarch TH LLC (the “Buyer”) as the highest and best offer for the sale of the

Property. Lexin Acquisitions LLC (“Lexin”) was selected the Next-Highest Bidder with a

$9,050,000 cash bid.

   3. At the resumed Sale Hearing, the Debtor will ask the Bankruptcy Court to enter the

proposed Sale Order attached as Exhibit A.

   4. A redline copy comparing the proposed Sale Order against the form of Sale Order

appended to the Sale and Bid Procedures Motion is attached as Exhibit B.

   5. A copy of the Purchase and Sale Agreement with Buyer is attached as Exhibit C.

   6. A redline copy comparing the Purchase and Sale Agreement with Buyer against the

Purchase and Sale Agreement approved by the Court is attached as Exhibit D.

   7. A redline copy comparing the Purchase and Sale Agreement with Lexin against the

Purchase and Sale Agreement approved by the Court is attached as Exhibit E.

   8. The resumed Sale Hearing will be held before the Honorable Michael E. Wiles, at the

United States Bankruptcy Court for the Southern District of New York, One Bowling Green, New

York, New York 10004, on February 10, 2020 at 2:00 p.m. (prevailing eastern time), or at such

other time thereafter as counsel may be heard. The Sale Hearing may be adjourned from time to

time without further notice to creditors or parties in interest other than by announcement of the

adjournment in open court on the date scheduled for the Sale Hearing.




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Dated: February 6, 2020                      LOEB & LOEB LLP



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